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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   In re:                                       )           Chapter 11
                                                )
   DULUTH TRAVEL, INC.,                         )           Case No. 18-54894-JRS
                                                )
                                 Debtor.        )

                              NOTICE OF RESET HEARING

          PLEASE TAKE NOTICE that on August 6, 2018, ADTRAV
   CORPORATION filed its Motion of ADTRAV Corporation to Dismiss Chapter 11
   Bankruptcy Case Pursuant to Bankruptcy Code Section 1112(b) (the “Motion”) (docket #
   93) with the Court seeking to dismiss the underlying bankruptcy case. A hearing on the
   Motion was originally scheduled for October 16, 2018.
         PLEASE TAKE FURTHER NOTICE that the hearing has been rescheduled
   and the Court will hold a hearing on the Motion in Courtroom 1404, United States
   Courthouse, 75 Ted Turner Drive, S.W., Atlanta, Georgia at 9:30 a.m. on October 18,
   2018.
            Your rights may be affected by the court’s ruling on these pleadings. You should
   read these pleadings carefully and discuss them with your attorney, if you have one in
   this bankruptcy case. (If you do not have an attorney, you may wish to consult one). If
   you do not want the court to grant the relief sought in the Motion or if you want the court
   to consider your views, then you and/or your attorney must attend the hearing. You may
   also file a written response to the pleading with the Clerk at the address stated below, but
   you are not required to do so. If you file a written response, you must attach a certificate
   stating when, how and whom (including addresses) you served the response. Mail or
   deliver your response so that it is received by the Clerk at least two business days before
   the hearing. The address of the Clerk’s Office is: Clerk, U.S. Bankruptcy Court, Suite
   1340, 75 Ted Turner Drive, S.W., Atlanta, Georgia 30303. You must also mail a copy of
   your response to the undersigned at the address stated below.
            Dated: September 17, 2018

                                                    WOMBLE BOND DICKINSON (US) LLP

   271 17th Street, N.W.                            By:       /S/ Jason H. Watson
   Suite 2400                                             Jason H. Watson
   Atlanta, Georgia 30363-1017                            State Bar No. 741414
   (404) 879-2429 direct phone
   (404) 870-4829 direct fax                              Attorney for ADTRAV Corporation
   jason.watson@wbd-us.com
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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

   In re:                                     )           Chapter 11
                                              )
   DULUTH TRAVEL, INC.,                       )           Case No. 18-54894-JRS
                                              )
                                 Debtor.      )
                                              )

                               CERTIFICATE OF SERVICE

            I, Jason H. Watson, certify I am over the age of 18 and that on September 17,

   2018, I served a copy of forgoing NOTICE OF RESET HEARING by first class U.S.

   Mail, with adequate postage prepaid on the following persons or entities at the address

   stated on the attached Exhibit A.


                                                  WOMBLE BOND DICKINSON (US) LLP

   271 17th Street, N.W.                          By:       /S/ Jason H. Watson
   Suite 2400                                           Jason H. Watson
   Atlanta, Georgia 30363-1017                          State Bar No. 741414
   (404) 879-2429 direct phone
   (404) 870-4829 direct fax                            Attorney for ADTRAV Corporation
   jason.watson@wbd-us.com
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                                           EXHIBIT A
   Bureau of the Fiscal Service
                                                               Comp. Corp. Rate Assoc.
   Division of Procurement, Avery 5F                           320 Hemphill Street
   200 Third Street                                            Fort Worth, TX 76104-1130
   Attn: R. Dillon
   Parkersburg, WV 26101

   Deem, Inc.                                                  FedEx
   642 Harrison Street                                         3875 Airways, Module H-3
   2nd Floor                                                   Department 4634
   San Francisco, CA 94107-1323                                Memphis, TN 38116


   Georgia Certified Development                               Gwinnett Community Bank
   Corp.                                                       2775 Buford Highway
   3405 Piedmont Road, NE                                      Duluth, GA 30096-2872
   Suite 500
   Atlanta, GA 30305-1797

                                                               Arthur D. Salas
   AdTrav Corporation                                          Duluth Travel, Inc.
   4555 Southlake Parkway                                      2860 Peachtree Industrial Blvd.
   Birmingham, AL 35244-3238                                   Suite 1000
                                                               Duluth, GA 30097-7906

                                                               Concur Technologies
   CTS Systems                                                 3500 Lenox Road, NE
   11575 Great Oaks Way                                        Alliance Center, Suite t12
   Suite 130                                                   Atlanta, GA 30326-4267
   Alpharetta, GA 30022-2426

                                                               Georgia Department of Revenue
   First Citizens Bank                                         Compliance Division
   289 S. Culver Street                                        ARCS Bankruptcy
   Lawrenceville, GA 30046-4805                                1800 Century Blvd., Suite 9100
                                                               Atlanta, GA 30345-3202

                                                               Internal Revenue Service
   Gwinnett         County      Tax                            P.O. Box 7346
   Commissioner                                                2970 Market Street
   Attn: Richard Steele                                        Philadelphia, PA 19104-5002
   P.O. Box 372
   Lawrenceville, GA 30046-0372
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   Airline Reporting Comm.                                        Balch & Bingham, LLP
   3000 Wilson Blvd.                                              Christopher S. Anulewicz, Esq.
   Suite 300                                                      30 Ivan Allen Jr. Blvd NW Suite
   Arlington, GA 22201-3862                                       700
                                                                  Atlanta, GA 30308-3036

    City of Duluth                                                 D. Michael Sweetnam
    3167 Main Street                                               Sweetnam & Schwartz, LLC
    1st Floor
                                                                   1200 Ashwood Parkway Suite
    Duluth, GA 30092-3272
                                                                   190
                                                                   Atlanta, GA 30338-6994
    Everbank Commercial Finance, Inc.                              GRASP Technologies, Inc.
    P.O. Box 911608                                                404 Camino Del Rio South
    Denver, CO 80291-1608                                          Suite 210
                                                                   San Diego, CA 92108



    Great West                                                    Humana
    8515 E. Orchard Road                                          P.O. Box 3291
    Englewood, CO 80111-5002                                      Miilwaukee, WI 53201-5002



    IRS                                                           John Lawless
    Attn: Leona Brown                                             c/o Hodges & Assoc. #400
    500Ellin Road                                                 11325 Random Hills Road
    Lanham, MD 20706                                              Fairfax, VA 22030-6051


    Julie F. Montgomery, Esq.                                     William J. Sheppard
    Brown & Connery, LLP                                          James Bates Brannan Groover LLP
    6 North Broad Street                                          Suite 1700
    Woodbury, NJ 08096-4635                                       3339 Peachtree Road, NE
                                                                  Atlanta, GA 30326-1151

    State Farm Insurance                                          Travel Master
    10595 Old Alabama Con Rd, Suite 6                             2860 Peachtree Ind. Blvd.
    Alpharetta, GA 30022-8276                                     #1000
                                                                  Duluth, GA 30097-7906
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   U.S. Securities and Exchange Commission                      Lincoln National Life
   Office of Reorganization                                     P.O. Box 0821
   950 East Paces Ferry Road, Suite 900                         Carol Stream, IL 60132-0821
   Atlanta, GA 30326-1382


    Ring Central, Inc.                                          Salus Consulting, P.C.
    20 Davis Drive                                              1117 Perimeter Center West
    Belmont, CA 94002-3002                                      Suite e-201
                                                                Atlanta, GA 30338-5457


    Travelport, LP                                             Doroteya N. Wozniak
    300 Galleria Parkway, SE                                   James Bates Brannan Groover
    LLP
    Atlanta, GA 30339-3153                                     3399 Peachtree Road, NE,
    Suite 1700
                                                               Atlanta, GA 30326-1151
    McGuire Woods                                              Roger L. Bates, Esq.
    1750 Tysons Blvd.                                          Hand Arendall, et al
    Suite 1800                                                 1801 5th Ave N. #400
    Tyson, VA 22102-4215                                       Birmingham, AL 35203-2108


    Secretary of the Treasury                                   Small Business Assoc. c/o
    15th & Pennsylvania Avenue, NW                              Colson Services Corp. 2
    Washington, DC 20200                                        Hanson Place, 7th FL
                                                                Brooklyn, NY 11217-1431


    U.S. Attorney                                               David S. Weidenbaum
    600 Richard B. Russell Bldg.                                Office of the U.S. Trustee
    75 Ted Turner Drive, SW                                     362 Richard B. Russell Bldg.
    Atlanta, GA 30303-3315                                      75 Ted Turner Drive, SW
                                                                Atlanta, GA 30303-3330

    Travel Incorporated
    4355 River Green Parkway
    Duluth, GA 30096-2572
